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    UNITED STATES DISTRICT COURT
   NORTHERN DISTRICT OF CALIFORNIA
                                                                         BILL OF COSTS                                                             C O U R T US E O N L Y
                                                                                                                                    OBJECTION DEADLINE:
      Form CAND 133 (Rev. 2/2017)                  Please follow the instructions on page 3 when completing this form.
                                                                                                                                    OBJECTION FILED: YES              NO 

1. CASE NAME                                                  2. CASE NUMBER               3. DATE JUDGMENT ENTERED               4. PARTY AGAINST WHOM JUDGMENT WAS ENTERED
Gullen v. Facebook, Inc.                                      3:16-cv-00937-JD             04/03/2018                             Frederick W. Gullen

5. NAME OF CLAIMING PARTY                                     6. NAME OF ATTORNEY FOR CLAIMING PARTY (or indicate “PRO SE”)       7. PHONE AND EMAIL OF CLAIMING PARTY, IF PRO SE
Facebook, Inc.                                                Matthew D. Provance                                                 (312) 701-8598
                                                                                                                                  mprovance@mayerbrown.com
8. REQUEST TO TAX THE FOLLOWING AS COSTS:                                                                                 (SHADED AREAS ARE FOR COURT USE ONLY)

            COST ITEM                 AMOUNT CLAIMED         LIST SUPPORTING DOCUMENTATION              Amt Allowed             Disallowed              Disallowance Reason
                                                                                                                                                            Code/Notes
 a. FEES OF THE CLERK AND FOR SERVICE OF PROCESS

  Filing Fees and Docket Fees,            $1,940.00      Itemization of Costs; Dkt. 1, 16, 17,      $400.00                   $1,540.00           Disallowed as unrecoverable
  Civil LR 54-3(a)(1), 18 U.S.C.                                                                                                                  under 28 USC §1920. (Re: Pro
  1923                                                   120, 152, 153
                                                                                                                                                  Hac Vice fees see Kalitta Air
                                                                                                                                                  LLC v.Central Texas Air borne
                                                                                                                                                  System, Inc., 741 F.3d 955(9th
                                                                                                                                                  Ci r .2013)

  Service of Process, Civil LR 54-
  3(a)(2)

 b. REPORTERS’ TRANSCRIPTS

  Transcripts for appeal, Civil LR          $226.30      Itemization of Costs; Exhibit 1            $0.00                     $226.30             Disallowed amount is outside
  54-3(b)(1)                                                                                                                                      the ambit of Civil Local Rule
                                                         (Invoice No. 20171769, Invoice No.
                                                                                                                                                  54-3.
                                                         20160101)
  Rulings from the bench, Civil LR
  54-3(b)(2)

  Other transcripts (by order or
  stipulation), Civil LR 54-3(b)(3)

 c. DEPOSITIONS

  Deposition transcript/video             $8,006.86      Itemization of Costs; Exhibit 2            $6,939.36                 $1,067.50           Disallowed amount is outside
  recording, Civil LR 54-3(c)(1)                                                                                                                  the ambit of Civil Local Rule
                                                         (Invoice No. 1027364, Invoice No.
                                                                                                                                                  54-3. Costs for video
                                                         1027364, Invoice No. 130036018,                                                          synchronization are not
                                                         Invoice No. 130038304, Invoice No.                                                       allowable. (Re: video
                                                         102517-690151, Invoice No.                                                               synchronization see Kalitta Air
                                                                                                                                                  LLC v.Central Texas Airborne
                                                         102517-690152, Invoice No.
                                                                                                                                                  System, Inc., 741 F.3d 955(9th
                                                         130037154, Invoice No.                                                                   Ci r .2013)
                                                         130038397, Invoice No. 022318-
                                                         355906, Invoice No. 022318-
                                                         355907, Invoice No. 022618-
                                                         355909, Invoice No. 022618-
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                                                 355910, Invoice No. 130050707)

Deposition exhibits, Civil LR 54-      $379.90   Itemization of Costs; Exhibit 2       $379.90
3(c)(3)
                                                 (Invoice No. 1027364, Invoice No.
                                                 1027364, Invoice No. 130036018,
                                                 Invoice No. 130038304, Invoice No.
                                                 102517-690151, Invoice No.
                                                 102517-690152, Invoice No.
                                                 130037154, Invoice No.
                                                 130038397, Invoice No. 022318-
                                                 355906, Invoice No. 022318-
                                                 355907, Invoice No. 022618-
                                                 355909, Invoice No. 022618-
                                                 355910, Invoice No. 130050707)
Notary & reporter attendance
fees, Civil LR 54-3(c)(4),(5)

d. REPRODUCTION, EXEMPLIFICATION

Government records, Civil LR
54-3(d)(1)

Disclosure/formal discovery            $650.62   Itemization of Costs; Exhibit 3       $650.62
documents, Civil LR 54-3(d)(2)
                                                 (Invoice No. 506897, Invoice No.
                                                 510672, Invoice No. 513403,
                                                 Invoice No. 515669, Invoice No.
                                                 0100011321, Invoice No.
                                                 0100015624, Invoice No.
                                                 0100017666); Exhibit 4 (Stipulation
                                                 and Proposed Order re: Discovery of
                                                 Electronically Stored Information
                                                 (Dkt. 65))

Trial exhibits, Civil LR 54-3(d)(4)

Visual aids, Civil LR 54(d)(5)

e. WITNESS FEES AND EXPENSES

Total from itemized Witness
Fees worksheet,* Civil LR 54(e)

f. COURT-APPOINTED PROFESSIONALS, INTERPRETERS

Fees for special masters &
receivers, Civil LR 54-3(f)

Court-appointed experts,
28 USC § 1920(6)
                                                    Case 3:16-cv-00937-JD Document 172 Filed 05/09/18 Page 3 of 4
  Interpreters and special
  interpretation services, 28 USC
  §§ 1828, 1920(6)

 g. MISCELLANEOUS COSTS

  Costs on appeal, Civil LR 54-
  3(g) & FRAP 39

  Costs of bonds and security,
  Civil LR 54-3(h)

 TOTAL AMOUNT                               $11,203.68                                                              $8,369.88                  $2,833.80
                                        (actual amount)

9. ADDITIONAL COMMENTS, NOTES, ETC:



10. AFFIDAVIT PURSUANT TO 28 USC § 1924: I declare under penalty of perjury that the foregoing               11. Costs are taxed in the amount of   $8,369.88           and included in the judgment.
costs are correct and were necessarily incurred in this action and that the services for which fees have
been charged were actually and necessarily performed.                                                        Susan Y. Soong
Name of Attorney/Claiming Party:                                                                             Clerk of Court

SIGNATURE:            /s/ Matthew D. Provance                               DATE: 04/17/2018                 BY:                                       , Deputy Clerk               DATE: 5/9/2018


                                               *WITNESS FEES/EXPENSES COMPUTATION WORKSHEET FOR ITEM 8.e OF REQUEST TO TAX COSTS (28 USC 1821)

                                                                                  ATTENDANCE                                  SUBSISTENCE                           TRAVEL/MILEAGE                TOTAL COST
        WITNESS NAME , CITY AND STATE OF RESIDENCE                             # Days               $ Cost               # Days               $ Cost        Travel Cost or                          Per Witness
                                                                                                                                                                                   $ Cost
                                                                                                                                                              # Miles POV




                                                                                                                                TOTAL WITNESS FEES/EXPENSES
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CAND 133
(Rev. 02/2017)                                                               INSTRUCTIONS
GENERAL INSTRUCTIONS
Use this form CAND 133 in the Northern District of California in lieu of AO 133 when seeking to tax costs under Fed. R. Civ. P. 54(d)(1) and Civil L.R. 54. For applicable
deadlines, see Civil L.R. 54.
   On the cost table (Item 8), in the column for “List Supporting Documentation,” specifically cross-reference the documentation you are submitting for that item (example:
    Declaration of Jessica Smith, Ex 1 (invoice from ABC Graphics)). Use as much space as necessary to identify supporting documentation.
   Attach to your bill an itemization and documentation for requested costs in all categories.
   Each stipulation or order in the case regarding the formats for discovery of documents and electronically stored information, or relating to any other cost item, should
    be attached to the bill and referenced as “supporting documentation” next to each item to which it relates.
   Enter the amounts claimed for each item in the “amount claimed” column; for witness fees/expenses (Item 8(e)), enter the total from the Witness Fees/Expenses
    Computation Worksheet on page 2. To automatically calculate the total amount after entering all cost items, highlight the dollar amount on the last line of the AMOUNT
    CLAIMED column, and (i) right-click and select Update Field, or (ii) press F9. The total amount can also be entered manually.
   Affidavit (Item 10) must be signed by attorney acting for the party claiming costs.
FILING INSTRUCTIONS
   Completed cost bill must be submitted to court in two ways: (1) pages 1-2 must be saved as a PDF and e-filed in the case docket via the Court’s Case
    Management|Electronic Case Filing (“CM|ECF”) system along with all supporting documentation; and (2) a copy of the Word document (.doc or .docx) must be
    submitted by email to costbills@cand.uscourts.gov. A chambers copy must also be submitted pursuant to Civil L.R. 5-1(e)(7).
   If this bill of costs is not electronically served, a certificate of service must be filed pursuant to Civil L.R. 5-5.
WITNESS FEES/EXPENSES COMPUTATION WORKSHEET: INSTRUCTIONS
   Travel in a privately owned vehicle (“POV”) is computed at federal government rates in the year of travel. Visit gsa.gov for current POV mileage reimbursement rate.
   For mileage claims, distances should be documented (through Google maps or similar); point of trip origin should be documented, if different from place of residence.
   Subsistence expenses (including lodging and meals) for overnight stay (if required due to distance) are allowed but may not exceed maximum per diem allowance for
    federal government employees. View gsa.gov lodging per diem rates. View gsa.gov meals and incidental expenses per diem rates.
   If there are more than 5 witnesses, additional lines may be added to the Worksheet and the total amount of Witness Fees/Expenses must be entered manually.
REPRODUCTION & EXEMPLIFICATION: GUIDANCE RE: ELECTRONIC DISCOVERY
   While there may be special circumstances in individual cases, the following kinds of document production costs are generally considered taxable unless a stipulation or
    order in the case provides otherwise:
     Auto feed scanning of hard copy documents           Document coding                                        Image endorsing (electronic labeling or numbering)
     Bates stamp                                         ED deliverables                                        Load file creation
     Blowback scanning of paper documents                Electronic label/Bates numbering                       Metadata extraction
     Conversion of native files to different format      External hard drive used for production; copying       OCR (optical character recognition)
         for production                                     files to storage media for production               Slip sheets
     Data archive                                        Heavy litigation scanning                              TIFF conversion
REASON CODES FOR CLERK’S DISALLOWANCE OF CLAIMED COSTS
    “A” ― No supporting documentation provided.
    “B” ― Supporting documentation does not support full amount claimed.
    “C” ― Disallowed as excessive expense (28 USC §1821(c)(1))
    “D” ― Disallowed as unrecoverable under 28 USC §1920.
    “E” ― Disallowed amount is outside the ambit of Civil Local Rule 54-3.
